          Case 3:23-cv-03417-VC Document 202 Filed 10/03/24 Page 1 of 5



 1    Elizabeth J. Cabraser (State Bar No. 083151)
      Daniel M. Hutchinson (State Bar No. 239458)
 2    Reilly T. Stoler (State Bar No. 310761)
      LIEFF CABRASER HEIMANN &
 3    BERNSTEIN, LLP
      275 Battery Street, 29th Floor
 4    San Francisco, CA 94111-3339
      Telephone: (415) 956-1000
 5    ecabraser@lchb.com
      dhutchinson@lchb.com
 6    rstoler@lchb.com

 7    Rachel Geman (pro hac vice forthcoming)
      LIEFF CABRASER HEIMANN &
 8    BERNSTEIN, LLP
      250 Hudson Street, 8th Floor
 9    New York, New York 10013-1413
      Telephone: (212) 355-9500
10    rgeman@lchb.com

11    Scott J. Sholder (pro hac vice forthcoming)
      CeCe M. Cole (pro hac vice forthcoming)
12    COWAN DEBAETS ABRAHAMS &
      SHEPPARD LLP
13    60 Broad Street, 30th Floor
      New York, New York 10004
14    Telephone: (212) 974-7474
      ssholder@cdas.com
15    ccole@cdas.com

16    Attorneys for Plaintiff and the Proposed Class in
      Farnsworth v. Meta Platforms, Inc.
17

18                                   UNITED STATES DISTRICT COURT

19                             NORTHERN DISTRICT OF CALIFORNIA

20

21   RICHARD KADREY, et al.                          Case No. 3:23-cv-03417-VC

22                     Plaintiffs,                   UNOPPOSED ADMINISTRATIVE
                                                     MOTION TO CONSIDER WHETHER
23   v.                                              CASES SHOULD BE RELATED
                                                     PURSUANT TO CIVIL LOCAL RULES 3-
24   META PLATFORMS, INC.,                           12 AND 7-11

25                     Defendant.

26

27

28
                                                                PLAINTIFFS’ UNOPPOSED ADMIN. MOTION TO
                                                            CONSIDER WHETHER CASES SHOULD BE RELATED
                                                                                CASE NO: 3:23-CV-03417-VC
        Case 3:23-cv-03417-VC Document 202 Filed 10/03/24 Page 2 of 5



 1          Pursuant to Civil Local Rules 3-12(b) and 7-11, Plaintiffs in Farnsworth et al., v. Meta

 2   Platforms, Inc., 3:24-cv-06893-AMO (N.D. Cal.) (“Farnsworth”) file this unopposed motion for

 3   consideration of whether the Farnsworth suit should be related to the above-captioned case,

 4   Kadrey et al., v. Meta Platforms, Inc., 3:23-cv-03417-VC (N.D. Cal.) (“Kadrey”). This Motion is

 5   accompanied by the Declaration of Daniel M. Hutchinson and Exhibit 1 thereto (copy of the

 6   complaint filed in Farnsworth) (“Hutchinson Decl.”).

 7          Civil Local Rule 3-12(b) requires a party to file “an Administrative Motion to Consider

 8   Whether Cases Should be Related” whenever “a party . . . believes that” another action “may be

 9   []related.” Under Local Rule 3-12(b), an action is related to another when: “(1) The allegations

10   concern substantially the same parties, property, transaction or event; and (2) It appears likely that

11   there will be an unduly burdensome duplication of labor and expense or conflicting results if the

12   cases are conducted before different Judges.” On October 3, 2024, the Court in Farnsworth issued

13   a Referral to this Court “for consideration of whether the case is related.”

14          The Local Rule 3-12 criteria are met here.

15          The plaintiffs in the Kadrey and Farnsworth actions are book authors asserting the same,

16   single claim for copyright infringement, against the same lone defendant, Meta Platforms, Inc.

17   (“Meta”). The infringement claim in each class action arises from the same alleged conduct by

18   Meta. Specifically, plaintiffs in both actions allege that Meta stole a large trove of copyrighted

19   books, including plaintiffs’ copyrighted works, and used those books to train a set of large

20   language models (“LLMs”) called “Llama.” Compare Farnsworth Complaint at ⁋⁋ 3, 10 et seq.,

21   22 et seq. with Kadrey Complaint at ⁋⁋ 1, 4-5, 18 et seq.; see, e.g., Our Children’s Earth Found.

22   v. Nat’l Marine Fisheries Serv., Case No. 14-cv-1130, 2015 WL 4452136, at *12 (N.D. Cal. July

23   20, 2015) (relating cases involving “substantially the same matter” despite “slightly differing

24   parties” and “a differing underlying FOIA request”).

25          In addition to the substantial similarity of the parties and alleged predicate conduct, the

26   Kadrey and Farnsworth actions will both likely require an adjudication of Meta’s fair use

27   defense. The potential for conflicting rulings on this issue supports relating the cases. See L.R. 3-

28   12(b). Moreover, discovery into Meta’s alleged infringing conduct and fair use defense will
                                                                     PLAINTIFFS’ UNOPPOSED ADMIN. MOTION TO
                                                     -2-         CONSIDER WHETHER CASES SHOULD BE RELATED
                                                                                     CASE NO. 3:23-CV-03417-VC
         Case 3:23-cv-03417-VC Document 202 Filed 10/03/24 Page 3 of 5



 1   concern almost entirely overlapping evidence regarding—inter alia—the technical features of

 2   Meta’s LLMs, the data used to train the LLMs and the existence of licensing markets for LLM

 3   training data. Thus, “to avoid duplication of labor or conflicting results, the two matters should be

 4   related.” JaM Cellars, Inc. v. Wine Grp. LLC, No. 19-CV-01878-HSG, 2020 WL 2322992, at *1

 5   (N.D. Cal. May 11, 2020) (relating trademark infringement actions involving overlapping parties

 6   “although the underlying products, marks, and some portion of evidence differ”).

 7          Neither Meta nor counsel for the Kadrey plaintiffs oppose relating these cases.1 See

 8   Hutchinson Decl. at ⁋ 4.

 9          For these reasons, the Farnsworth plaintiffs respectfully request that the Court enter an

10   order relating Farnsworth with Kadrey and reassigning Farnsworth to this Court.

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     1
28    Meta’s counsel requested a note clarifying that while they do not oppose relating the cases, they
     do not agree with all characterizations within this brief.
                                                                    PLAINTIFFS’ UNOPPOSED ADMIN. MOTION TO
                                                     -3-        CONSIDER WHETHER CASES SHOULD BE RELATED
                                                                                    CASE NO. 3:23-CV-03417-VC
       Case 3:23-cv-03417-VC Document 202 Filed 10/03/24 Page 4 of 5



 1   Dated: October 3, 2024       Respectfully submitted,

 2

 3                                By:     /s/ Daniel Hutchinson
                                        Daniel M. Hutchinson
 4
                                  Elizabeth J. Cabraser (State Bar No. 083151)
 5                                Daniel M. Hutchinson (State Bar No. 239458)
                                  Reilly T. Stoler (State Bar No. 310761)
 6                                LIEFF CABRASER HEIMANN
                                  & BERNSTEIN, LLP
 7                                275 Battery Street, 29th Floor
                                  San Francisco, CA 94111-3339
 8                                Telephone: (415) 956-1000
                                  ecabraser@lchb.com
 9                                dhutchinson@lchb.com
                                  rstoler@lchb.com
10
                                  Rachel Geman (pro hac vice forthcoming)
11                                LIEFF CABRASER HEIMANN
                                  & BERNSTEIN, LLP
12                                250 Hudson Street, 8th Floor
                                  New York, New York 10013-1413
13                                Telephone: (212) 355-9500
                                  rgeman@lchb.com
14
                                  Scott J. Sholder (pro hac vice forthcoming)
15                                CeCe M. Cole (pro hac vice forthcoming)
                                  COWAN DEBAETS ABRAHAMS
16                                & SHEPPARD LLP
                                  60 Broad Street, 30th Floor
17                                New York, New York 10004
                                  Telephone: (212) 974-7474
18                                ssholder@cdas.com
                                  ccole@cdas.com
19
                                  Attorneys for Plaintiff and the Proposed Class
20

21

22

23

24

25

26

27

28
                                                          PLAINTIFFS’ UNOPPOSED ADMIN. MOTION TO
                                            -4-       CONSIDER WHETHER CASES SHOULD BE RELATED
                                                                          CASE NO. 3:23-CV-03417-VC
        Case 3:23-cv-03417-VC Document 202 Filed 10/03/24 Page 5 of 5



 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that a true and correct copy of the foregoing was duly served upon all

 3   Counsel of record in:

 4                 Farnsworth et al., v. Meta Platforms, Inc., 3:24-cv-06893-AMO (N.D. Cal.)

 5                 Kadrey et al., v. Meta Platforms, Inc., 3:23-cv-03417-VC (N.D. Cal.)

 6   via electronic service, in accordance with the Federal Rules of Civil Procedure, on October 3,

 7   2024.

 8
                                                        /s/Daniel M. Hutchinson__________
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                    PLAINTIFFS’ UNOPPOSED ADMIN. MOTION TO
                                                     -5-        CONSIDER WHETHER CASES SHOULD BE RELATED
                                                                                    CASE NO. 3:23-CV-03417-VC
